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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLANIA


TRACEY NADIRAH SHAW                       :
                                          :
       Plaintiff,                         :             Civil No. 1:17-cv-00229-SPB
                                          :
               v.                         :
                                          :
PENNSYLVANIA DEPARTMENT OF                :             ELECTRONICALLY FILED
CORRECTIONS; DR. REBECCA                  :
BURDETTE; and DR. LAWRENCE                :
ALPERT, Medical Director at SCI Cambridge :             JURY TRIAL DEMANDED
Springs                                   :
                                          :
                                          :
       Defendants.


    PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT DOC’S MOTION TO
                                DISMISS

   I.      INTRODUCTION

        Plaintiff Tracey Shaw brings this action pursuant to 42 U.S.C. § 1983 for violations of

her rights under the Eighth Amendment of the United States Constitution, the Americans With

Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12132; and the Rehabilitation Act of 1973, 29

U.S.C. § 794. Ms. Shaw suffers from progressively worsening chronic neuropathic pain in her

back, neck, legs, and pelvic area caused by serious medical conditions including spinal stenosis,

osteoarthritis of the spine, degenerative joint disease in her hips, and fibromyalgia. As a result of

the Pennsylvania Department of Corrections’ refusal to consistently grant Ms. Shaw

accommodations including access to a wheelchair, she has been denied access to numerous

programs and services at the State Correctional Institution at Cambridge Springs.




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   II.      FACTUAL SUMMARY

         Ms. Shaw’s neuropathic pain and fibromyalgia substantially limit her mobility, her ability

to walk from place to place, and her ability to stand for lengthy periods of time. First Amended

Complaint [hereinafter “FAC”] at ¶ 68. On or about December 23, 2016, Ms. Shaw was stripped

of her job as a block worker expressly because of her disability. Id. at ¶¶ 69-72. This was done

even though her physical impairments had not prevented her from working up to that point, and

without any medical examination. Id. at ¶¶ 72, 74, 76. Defendants failed to provide any

replacement job for nearly six months. Id. at ¶¶ 75, 78.

         Due to her disability, Ms. Shaw has been allowed the use of a cane to assist in walking

for more than 10 years. Id. at ¶ 81. As her condition worsened due to the termination of her

Lyrica prescription, Ms. Shaw suffered increased pain and difficulty walking, including

weakness and a greater risk of falling when attempting to walk longer distances as required to

access the dining hall and med line. Id. at ¶ 82. In October 2016, Ms. Shaw was granted the use

of a wheelchair to assist in traveling longer distances. Id. at ¶ 86. Ms. Shaw sent a request to

Defendant Alpert on November 27, 2016 and filed a disability accommodation request form in

December 2016 seeking renewal of her permission to use the wheelchair due to the chronic pain

and her difficulty walking. Id. at ¶¶ 87-88. The request was initially granted on December 6,

2016, effective for sixty days, but was then rescinded only ten days later, the day after

Corrections Health Care Administrator Anderson reproached Ms. Shaw for filing grievances and

accommodation requests. Id. at ¶¶ 88-92. Without her wheelchair, Ms. Shaw almost fell the

following day while walking over ice on the way to medication line. Id. at ¶ 95.




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           In January 2017, Ms. Shaw informed prison officials at SCI Cambridge Springs that she

had collapsed on the floor in her room due to “the chronic pain radiating in my legs after having

a half day of walking due to my daily activities.” Id. at ¶ 97. Without use of the wheelchair, Ms.

Shaw missed two out of three meals most days, and all three meals on numerous other days. Id.

at ¶¶ 98-100. Since the wheelchair was taken away in December 2016, Ms. Shaw has lost more

than 20 pounds due to her inability to attend meals. Id. at ¶ 101.

           On January 14, 2017, Ms. Shaw fell, requiring medical attention and an overnight stay in

the medical department, due to her walking a long distance without the assistance of a

wheelchair. Id. at ¶¶ 102-103. On March 24, 2017, she visibly almost fell multiple times while

attempting to walk to the dining hall, causing corrections officers to obtain a wheelchair for her

use that day. Id. at ¶¶ 104-105. Ms. Shaw has also been unable to attend yard, missed GED

classes, religious services, and other institutional programs as the result of the DOC’s denial of

reasonable accommodations including access to a wheelchair. Id. at ¶ 106. On July 30, 2017,

after a long walk to and from her housing unit and being forced to stand in medication line

without use of a wheelchair, Ms. Shaw fell and broke her leg. Id. at ¶¶ 112-114. In light of this

injury, the DOC temporarily granted her the use of a wheelchair. Id. at ¶115.1

    III.      STANDARD OF REVIEW

           In evaluating Defendants’ Rule 12(b)(6) motion the Court must accept all of Plaintiff’s

factual allegations as true and consider the complaint in the light most favorable to her. Byers v.

Intuit, Inc., 600 F.3d 286, 291 (3d Cir. 2010). In order for a complaint to survive a motion to

dismiss, it must contain sufficient factual matter, accepted as true, to “state a claim to relief that

1
 However, since the filing of the First Amended Complaint, the DOC has taken away the
wheelchair and her subsequent access to a walker. Moreover, during a recent visit to the Medical
Department, Ms. Shaw was informed that her cane will also be taken away within the coming
weeks.
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is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A plaintiff’s

pleading burden is satisfied where the factual content of a complaint “allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Keybank Nat’l

Assoc. v. Voyager Group, LP, No. 09-1238, 2010 U.S. Dist. LEXIS 34071, *2 (W.D. Pa. Apr 7,

2010) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). It is the defendant’s burden to show

that the Complaint fails to do this. See Hedges v. United States, 404 F.3d 744, 750 (3d Cir.

2005). Dismissal of claims under Rule 12(b)(6) should be granted “only if it is clear that no

relief could be granted under any set of facts that could be proved consistent with the

allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

    IV.      ARGUMENT

             A. Plaintiff has Stated A Claim under the Americans with Disabilities Act and
                Section 504 of the Rehabilitation Act

          Ms. Shaw has adequately stated a claim under the Americans with Disabilities Act

(“ADA”) and Section 504 of the Rehabilitation Act (“RA”).2 Congress created the ADA “to

provide a clear and comprehensive national mandate for the elimination of discrimination against

individuals with disabilities.” 42 U.S.C. § 12101(b)(1). To state a claim under Title II, a

plaintiff must establish that “(1) [she] is a qualified individual with a disability; (2) [she] was

either excluded from participation in or denied the benefits of a public entity’s services,

programs, or activities, or was otherwise discriminated against by the public entity; and (3) such

exclusion, denial of benefits, or discrimination was by reason of [her] disability.” Calloway v.

Boro of Glassboro Dep’t of Police, 89 F. Supp. 2d 543, 551 (D.N.J. 2000); 42 U.S.C. § 12132.

Title II of the ADA “has been interpreted as all-encompassing, and without any exception.”

2
  The substantive standards for determining liability under the ADA and Rehabilitation Act are
the same. McDonald v. Pennsylvania, 62 F.3d 92, 95 (3d Cir. 1995).

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Schorr v. Borough of Lemoyne, 243 F. Supp. 2d 232, 237 (M.D. Pa. 2003) (quotations omitted).

ADA protections apply to the activities of correctional institutions. Pennsylvania Dep’t of Corr.

v. Yeskey, 524 U.S. 206, 209-10 (1998).          As “a remedial statute, designed to eliminate

discrimination against the disabled in all facets of society,” the ADA “must be broadly construed

to effectuate its purposes.” Schorr, 243 F. Supp. 2d at 235 (citing Tcherepnin v. Knight, 289

U.S. 332, 335 (1967)).

       The DOC does not dispute that Ms. Shaw is a qualified individual with a disability for

purposes of the ADA & RA. See generally Brief in Support of Department of Corrections’

Motion to Dismiss First Amended Complaint for Failure to State a Claim (“Def. Bf.”), Dkt No.

19. Rather, with respect to the substance of Ms. Shaw’s claims, the DOC essentially contends

that Ms. Shaw requests too much by way of accommodation.3                    The DOC’s argument

misapprehends the essence and breadth of the ADA. Congress passed the ADA not to simply

force public entities to give some accommodation to individuals with disabilities, but to ensure

that public entities provide reasonable accommodation to ensure that individuals with disabilities

receive equal access to and benefit of all programs and services the entity provides. As made

clear by the allegations in the First Amended Complaint, the limited and inconsistent

accommodations provided by the DOC fall far short of this standard.

       The ADA “was cast in terms…of eliminating a form of discrimination that Congress

considered unfair and even odious. The Act assimilates the disabled to groups that by reason of

sex, age, race, religion, nationality, or ethnic origin are believed to be victims of discrimination.”

Crawford v. Indiana Dep’t of Corr., 115 F.3d 481, 486 (7th Cir. 1997). Importantly, the ADA’s

3
 Notably, Defendant’s argument relies in substantial part on the DOC’s provision of a cane as an
accommodation to Ms. Shaw. As noted supra note 1, since the filing of the First Amended
Complaint, Ms. Shaw has been informed the DOC will soon be revoking her permission to use a
cane.
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text “demonstrates a recognition by Congress that discrimination against persons with disabilities

differs from discrimination on the basis of, for example, gender, or race…[A] person with a

disability may be the victim of discrimination precisely because [he] did not receive disparate

treatment when [he] needed accommodation.” Presta v. Peninsula Corridor Joint Powers Bd, 16

F. Supp. 2d 1134, 1136 (N.D. Cal. 1998). The implementing regulations of the ADA “make

clear” that discrimination “occurs when disabled persons, because of their disability, cannot

derive a benefit from the state’s services…even though [they] are given the exact same services

or benefits as those afforded” to the non-disabled. Belton v. Erickson, Civ. Action No. 1:10-cv-

0583, 2012 U.S. Dist. LEXIS 44681 at *26 (N.D. Ga. March 20, 2012) (citing 28 C.F.R.

§35.130(b)(1)(ii)-(iii)). In other words, a public entity violates the ADA by failing to provide a

reasonable accommodation that would allow disabled persons equal access or benefit. See

Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 306 (3d Cir. 1999) (“Discrimination under the

ADA encompasses not only adverse actions motivated by prejudice and fear of disabilities, but

also includes failing to make reasonable accommodations for a plaintiff’s disabilities.”). “In the

context of disability, therefore, equal treatment may not beget equality, and facially neutral

policies may be, in fact, discriminatory.” Presta, 16 F. Supp. 2d at 1136.

       Ms. Shaw was excluded from participating in programs and services at SCI Cambridge

Springs due to her disability. The Supreme Court has observed that “modern prisons provide

inmates with many recreational activities, medical services, and educational and vocational

programs,” all of which are covered by the ADA. Yeskey, 524 U.S. at 210 (quotations omitted).

“[U]nder a common understanding of the terms, the prison and all of its facilities (i.e., the phone,

the library, the yard, and meals) constitute services and programs…to which the ADA applies.”

Owens v. Chester County, Civ. A. No. 97-1344, 2000 U.S. Dist. LEXIS 710, at *32-33 (E.D. Pa.



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Jan. 28, 2000). Ms. Shaw has been denied access to food at the dining hall, recreating in the

yard, religious services, and GED classes as well as other programs at SCI Cambridge Springs.

FAC at ¶¶ 98-100, 106.       When she has tired to access these programs and services with

appropriate accommodations, she has repeatedly fallen, resulting in serious injury on more than

one occasion, including a broken leg. Id. at ¶¶ 97, 102, 104-105, 112-114.

       Ms. Shaw has unquestionably adequately alleged that as a result of the DOC’s failure to

provide her with reasonable accommodations, she was unable to receive meaningful and equal

access to and equal benefit from a multitude of programs and services. Consequently, Ms. Shaw

has stated a claim under the ADA that the DOC failed to prove reasonable accommodations for

her disability. See CG v. Pa. Dep't of Educ., 734 F.3d 229, 237 (3d Cir. 2013) (finding the ADA

“requires that ‘an otherwise qualified handicapped individual must be provided with meaningful

access to the benefit’ offered.”) (quoting Alexander at 301); Lonberg v. City of Riverside, 571

F.3d 846, 851 (9th Cir. 2009)("[Title II's] prohibition against discrimination is universally

understood as a requirement to provide 'meaningful access.'"); Henrietta D. v. Bloomberg, 331

F.3d 261, 282 (2d Cir. 2003) (noting that a "reasonable accommodation" is one that gives an

otherwise qualified plaintiff with a disability "meaningful access" to the program or service

sought).

       Ms. Shaw has also sufficiently plead a violation of the ADA with respect to her

discriminatory firing from her prison job as a block worker. FAC at ¶¶ 68-80. Title II’s

prohibition of disability discrimination includes “a catch-all phrase that prohibits all

discrimination by a public entity, regardless of the context.” Innovative Health Sys., Inc. v. City

of White Plains, 117 F.3d 37, 45 (2d Cir. 1997). A public entity can violate the ADA even when

they have not denied an individual access to a program or service. Chisholm v. McManimon,



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275 F.3d 315, 330 (3d Cir. 2001) (finding that Title II “proscribes discrimination on the basis of

disability without requiring exclusion per se.”) (emphasis omitted); see also Innovative Health

Sys., Inc., 117 F.3d at 44-45 (finding that “the language of Title II’s anti-discrimination provision

does not limit the ADA’s coverage to conduct that occurs in the ‘programs, services, or

activities’” of the public entity) (citation omitted). Ms. Shaw was removed from her job as a

block worker solely on the basis of her disability, despite her continued ability to perform

necessary tasks, the quintessential example of discrimination against individuals with disabilities.

FAC at ¶¶ 69-72.4 Therefore, Ms. Shaw had adequately stated an ADA claim and Defendant’s

Motion to Dismiss should be denied.

           B. Ms. Shaw’s claims are Not Barred by Sovereign Immunity

       Ms. Shaw’s claims for damages under the ADA are not barred by sovereign immunity.5

To determine whether Title II of the ADA validly abrogates sovereign immunity as to Ms.



4
  Defendant argues that Ms. Shaw’s claim regarding her job removal would be moot if this Court
finds sovereign immunity applies to her damages claim. However, given the abrupt and
unjustified nature of her previous termination, injunctive relief enjoining Defendant from again
removing her from her job on the basis of her disability when she remains qualified to perform
essential tasks, continues to be necessary. Thus, there is a live controversy surrounding her job
removal claim, irregardless of this Court’s finding on damages.
5
  There is no question that sovereign immunity does not bar Ms. Shaw’s claim under Section 504
of the RA. See Koslow v. Pennsylvania, 302 F.3d 161, 170 (3d Cir. 2002) (“The Supreme Court
has recognized § 504 of the Rehabilitation Act, following the 1986 amendment, to be an
‘unambiguous waiver of the State's Eleventh Amendment immunity.’”) (quoting Lane v. Pena,
518 U.S. 187, 200, (1996). “Accordingly, because Plaintiff's rights and remedies under both
the ADA claims and the Rehabilitation Act claims are currently coextensive…the doctrine of
constitutional avoidance militates reserving a decision on whether Congress has validly
abrogated State Defendants' sovereign immunity to Plaintiff's ADA claims.” Smith v. Twp. of
Warren, No. 14-7178-BRM-LHG, 2016 U.S. Dist. LEXIS 177726, at *35-36 (D.N.J. Dec. 22,
2016); see also Bennett-Nelson v. Louisiana Bd. of Regents, 431 F.3d 448, 455 (5th Cir.
2005) ("[H]aving already held that sovereign immunity does not bar the appellants' claim
under § 504, we need not address at this juncture the issue of abrogation under Title II of
the ADA, because the rights and remedies under either are the same for purposes of this case.").

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Shaw’s claims, this court must “(1) identify which aspects of the State's alleged conduct violated

Title II; (2) identify to what extent such misconduct also violated the Fourteenth Amendment;

and (3) insofar as such misconduct violated Title II but did not violate the Fourteenth

Amendment, determine whether Congress's purported abrogation of sovereign immunity as to

that class of conduct is nevertheless valid.” Bowers v. NCAA, 475 F.3d 524, 553 (3d Cir. 2007)

(citing United States v. Georgia, 546 U.S. 151 (2006)).6

       As discussed supra, Ms. Shaw has alleged a valid Title II claim. Defendant does not

dispute that she is a qualified individual with a disability. She suffers from chronic neuropathic

pain by serious medical conditions including spinal stenosis, osteoarthritis, and fibromyalgia

which substantially limits her ability to walk and stand. See e.g., FAC at ¶¶ 8-10. The DOC’s

refusal to provide consistent reasonable accommodations has deprived of access to meals, yard,

religious services, and GED classes. Id. at ¶¶ 98-101, 106.

                   i. The Underlying Conduct Also States a Violation of the Fourteenth
                      Amendment

       Under Georgia, this Court is “required next to determine whether the alleged

misconduct” underlying Ms. Shaw’s Title II claims “also violates the Fourteenth Amendment.”

Bowers, 475 F. 3d at 553. While Ms. Shaw did not bring a separate constitutional conditions of



6
  The Third Circuit has noted that “[a]pplying these factors requires ‘a fact-intensive review that
calls for individualized determinations.’” Munchinski v. Solomon, 618 F. App'x 150, 156 (3d Cir.
2015) (quoting Bowers, 475 F.3d at 546). This fact intensive review may be better undertaken
at the summary judgment stage following complete discovery.                   Moreover, Eleventh
Amendment immunity is an affirmative defense to which Defendant DOC bears the burden of
proof. See Christy v. Pa. Tpk. Comm'n, 54 F.3d 1140, 1144 (3d Cir. 1995)("[T]he party
asserting [it] bears the burden of proving entitlement to it."). Defendant has failed to carry this
burden.




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confinement claim, the facts underlying her ADA claim also support an Eighth Amendment

claim. Ms. Shaw missed the majority of meals offered during the time she was denied use of a

wheelchair and was constantly at risk of falling whenever she attempted to leave the housing

unit. FAC at ¶¶ 98-102, 104-106, 112-114. The lack of accommodation lead to repeated falls

and subsequent serious injury. Id. DOC staff evidenced deliberate indifference to this serious

risk of harm and denial of the basic necessities of life by repeatedly ignoring her requests for an

accommodation to assist her in accessing the dining hall and med line as well as other programs

and services at SCI Cambridge Springs. See e.g., id. at ¶¶ 88-92, 97.

       Multiple courts have found the “refusal of prison officials to accommodate [a prisoner’s]

disability-related needs in such fundamentals as mobility, hygiene, medical care, and virtually all

other prison programs…independently violate[] the provisions of § 1 of the Fourteenth

Amendment.” United States v. Georgia, 546 U.S. at 157; see also Dinkins v. Corr. Med. Servs.,

743 F.3d 633, 635 (8th Cir. 2014) (listing cases finding damages awards for inmates missing

meals and being denied access to toilet facilities); Jaros v. Ill. Dep't of Corr., 684 F.3d 667, 670

(7th Cir. 2012) (“Adequate food and facilities to wash and use the toilet are among the ‘minimal

civilized measure of life's necessities’ that must be afforded prisoners.”) (quoting Rhodes v.

Chapman, 452 U.S. 337, 347 (1981)). Consequently, sovereign immunity is validly abrogated

by Title II of the ADA for Ms. Shaw’s claims alleging that DOC’s refusal to provide her

accommodations denied her access to hygiene, medical care and other prison programs. See

United States v. Georgia, 546 U.S. at 157; Dinkins, 743 F.3d at 635 (remanding damages claims

against state prison “because some of defendants’ alleged behavior could violate the Eight and

Fourteenth Amendments”); Alster v. Goord, 745 F. Supp. 2d 317, 338-39 (S.D.N.Y. 2010).




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                   ii. Title II’s Abrogation of Sovereign Immunity was a Congruent and
                       Proportional Response to the History of Discrimination Against Prisoners
                       with Disabilities

        If this Court finds Ms. Shaw’s allegations “state[] a claim for violation of Title II but not

the Fourteenth Amendment” the Court must then “determine whether Congress's purported

abrogation of state sovereign immunity is nevertheless valid.” Bowers, 475 F.3d at 554. This

determination is made by evaluating the tripartite test set forth in City of Boerne v. Flores, 521

U.S. 507 (1997).

        Under the Boerne test, a court must (1) identify with some precision the scope of
        the constitutional right at issue; (2) examine whether Congress identified a history
        and pattern of unconstitutional discrimination by the states; and (3) determine
        whether the rights and remedies created by the ADA against the states are
        congruent and proportional to constitutional injury sought to be prevented.

Mohney v. Pennsylvania, 809 F. Supp. 2d 384, 394 (W.D. Pa. 2011) (citing Board of Trustees of

the Univ. of Alabama v. Garrett, 531 U.S. 356, 368, 372-73 (2001) (quotations omitted).7

        The constitutional right at issue in this case is the same as that presented in Lane and

Bowers, “the right to be free from irrational discrimination on the basis of disability.” See

Tennessee v. Lane, 541 U.S. 509, 540 (2004) (explaining that "Title II purports to enforce a

panoply of constitutional rights of disabled persons," including the equal protection right to be

free from irrational discrimination); Bowers, 475 F.3d at 554 (concluding "[t]he right at issue in

this case, as in Lane, is the right to be free from irrational disability discrimination").
7
  Defendant’s reliance on Baxter v. Pa. Dep’t of Corr. for the resolution of the Boerne factors is
misplaced. Baxter v. Pa. Dep’t of Corr., No. 3:14-cv-126, 2016 U.S. Dist. LEXIS 29846 (W.D.
Pa. Mar. 7, 2016). The dismissal in Baxter was affirmed on the basis of failure to state an ADA
claim, without discussion of the lower court’s analysis of sovereign immunity. Baxter v. Pa.
Dep’t of Corr., 661 Fed. App’x 754, 756-57 (3d Cir. 2016). Moreover, Baxter relied heavily on
Cochran, a decision which the Third Circuit vacated after the Supreme Court’s holding in
Georgia regarding Title II of the ADA and sovereign immunity. Cochran v. Pinchak, 401 F.3d
184, vacated, 412 F.3d 500 (3d Cir. 2005). Finally, the Court’s analysis of the Boerne factors is
significantly more narrow than the analysis undertaken by the Supreme Court, the Third Circuit
and other district court cases in the Third Circuit. See discussion infra.
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        When addressing the second step of the Boerne analysis in Bowers, the Third Circuit

succinctly stated only that “[t]he Court in Lane concluded that Congress had clearly identified a

history and pattern of disability discrimination with respect to public services” before continuing

to the third step. Bowers, 475 F.3d at 554. Courts within the Third Circuit have repeatedly

observed that "the second step of the analysis set forth in City of Boerne requires a consideration

of Title II in a broader sense." Zied-Campbell v. Richman, 2007 U.S. Dist. LEXIS 23469, 2007

WL 1031399, at *9 (M.D. Pa. 2007); see also Mohney, 809 F. Supp. 2d at 396-97 (finding that

“the Court's step-two inquiry is not limited to identifying a history and pattern of constitutional

violations with respect to the particular conduct at issue in this case, i.e. police encounters with

mentally disabled individuals.”). Moreover, this Court has previously held that it was bound by

the Supreme Court’s interpretation which “established that Congress' finding, together with

the extensive record of disability discrimination that underlies it, makes clear beyond

peradventure that inadequate provision of public services and access to public facilities was an

appropriate subject for prophylactic legislation." Mohney, 809 F. Supp. at 396-97 (quoting Lane,

541 U.S. at 529). This Court should likewise find the second step of the Boerne analysis

satisfied.

        Accordingly, the only remaining question before this Court is “whether the remedies

created by Title II are congruent and proportional to the pattern of unconstitutional disability

discrimination identified by Congress.” Mohney, 809 F. Supp. 2d at 397. "The appropriateness

of remedial measures must be considered in light of the evil presented. Strong measures

appropriate to address one harm may be an unwarranted response to another, lesser one." City of

Boerne, 521 U.S. at 530 (citations omitted). Unlike the previous steps in the Boerne analysis, the

final step “requires the Court to consider the specific context of Plaintiff's claims and determine



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whether Congress appropriately responded to the specific conduct at issue.” Mohney, 809 F.

Supp. 2d at 397 (citing Lane, 541 U.S. at 531).

       Although this step asks for a more tailored analysis, it does not require an exact match

between the particular facts at issue and the historical record of discrimination. Courts have

repeatedly answered the question of congruity and proportionality at a higher level of generality

than that proffered by the DOC. See Def. Bf. at 10. For example, in Bowers, the Third Circuit

looked to the history of discrimination in the realm of access to public education generally, rather

than seeking a specific finding of discrimination in participation in college athletics. Bowers,

475 F.3d at 555-56 (listing a variety of cases evidencing the history of discrimination in “access

to public education” including accommodations for law school exams, class attendance and

failure to provide sign language interpreters). Likewise, district courts within the Third Circuit

have found the remedies of Title II congruent with the history of discrimination observed in the

general settings of “encounters between law enforcement personnel and mentally disabled

individuals” and parole decisions. Mohney, 809 F. Supp. 2d at 397; White v. Del. Bd. of Parole,

No. 11-386-LPS, 2012 U.S. Dist. LEXIS 80451, at *9 (D. Del. June 8, 2012) (“The Court finds

that Title II, as applied to cases implicating the right of a disabled inmate (i.e., one with a history

of drug abuse) to a fair parole process is a valid exercise of Congress' authority to enforce the

guarantees of the Fourteenth Amendment.”).

       The history of discrimination against prisoners with disabilities is long and pervasive.

See e.g., Lane, 541 U.S. at 525 (“The decisions of other courts, too, document a pattern of

unequal treatment in the administration of a wide range of public services, programs, and

activities, including the penal system, public education, and voting.”) (listing cases); United

States v. Georgia, 546 U.S. at 161-62 (J. Stevens concurring) (“[T]he record of mistreatment of


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prison inmates that Congress reviewed in its deliberations preceding the enactment of Title II

was comparable in all relevant respects to the record that we recently held sufficient to uphold

the application of that title to the entire class of cases implicating the fundamental right of access

to the courts.”) (listing cases and citing to congressional record). In contrast to the extensive

discrimination it sought to prevent, the remedies provided by Title II are carefully limited to

achieve those ends. As the Third Circuit noted in Bowers:

       Congress limited the scope of Title II in several respects. First, the statute only
       protects "qualified individuals with a disability." Second, Title II permits States to
       limit participation in their programs and activities for all other lawful reasons.
       Third, Title II only requires States to make "reasonable modifications to
       accommodate the disabled, thus protecting the States from having to compromise
       essential eligibility criteria for public programs. Finally, States are able to make
       available other accommodations if structural modifications of physical structures
       are too burdensome.

475 F.3d at 555-56 (quoting Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d

474, 488-89 (4th Cir. 2005)). Given the decades of horrific conditions and discrimination

experienced by prisoners with disabilities, “[t]he relief available under Title II of the ADA is

congruent and proportional to the injury and the means adopted to remedy the injury.” Bowers,

475 F.3d at 556; see also Mohney, 809 F. Supp. 2d at 397-98 (“Title II requires only reasonable

modifications that would not fundamentally alter the nature of the service provided ….Providing

police officers with proper training for handling mentally disabled persons would not impose an

undue burden on the Commonwealth or PSP. It is, rather, a reasonable prophylactic measure,

reasonably targeted to a legitimate end.”) (quotations omitted) (quoting Lane, 541 U.S. at 533).

Therefore, Title II is a valid prophylactic measure for discrimination against prisoners with

disabilities. Thus, Ms. Shaw’s claims under the ADA are not barred by sovereign immunity.




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   V.      CONCLUSION

        For the foregoing reasons, Plaintiff Tracey Shaw respectfully requests that Defendant

DOC’s Motion to Dismiss be denied.



                                           Respectfully submitted,


                                           /s/ Bret Grote
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLANIA


TRACEY NADIRAH SHAW                       :
                                          :
       Plaintiff,                         : Civil No. 1:17-cv-00229-SPB
                                          :
               v.                         :
                                          :
PENNSYLVANIA DEPARTMENT OF                : ELECTRONICALLY FILED
CORRECTIONS; DR. REBECCA                  :
BURDETTE; and DR. LAWRENCE                :
ALPERT, Medical Director at SCI Cambridge : JURY TRIAL DEMANDED
Springs                                   :
                                          :
                                          :
       Defendants.
                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Plaintiff’s Brief in Opposition to
Defendant DOC’s Motion to Dismiss filed by Alexandra Morgan-Kurtz was served upon the
following via ECF on December 5, 2017:

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